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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

   UNITED STATES OF AMERICA,                    )
                                                )
                        Plaintiff,              )
                                                )                   8:06CR116
          vs.                                   )
                                                )                     ORDER
   JOHNNY NEWELL,                               )
   GEORGE MOORE,                                )
                                                )
                        Defendants              )


          This matter is before the court on defendant Johnny Newell’s Motion to
   Enlarge Time to File Pretrial Motions [153] and defendant George Moore’s Motion
   to Enlarge Time to File Pretrial Motions [154]. For good cause shown, I find that the
   motions should be granted. The defendant will be given an approximate 30-day
   extension. Pretrial Motions shall be filed by October 18, 2006.

          IT IS ORDERED:

          1.     Johnny Newell’s Motion to Enlarge Time to File Pretrial Motions [153]
   and defendant George Moore’s Motion to Enlarge Time to File Pretrial Motions [154]
   are granted. Pretrial motions shall be filed on or before October 18, 2006.

         2.    Defendant George Moore is ordered to file a waiver of speedy trial
   as soon as practicable.

          3.       The ends of justice have been served by granting such motion and
   outweigh the interests of the public and the defendant in a speedy trial. The
   additional time arising as a result of the granting of the motion, i.e., the time
   between September 18, 2006 and October 18, 2006, shall be deemed
   excludable time in any computation of time under the requirement of the Speedy
   Trial Act for the reason defendant's counsel required additional time to
   adequately prepare the case, taking into consideration due diligence of counsel,
   and the novelty and complexity of this case. The failure to grant additional time
   might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(8)(A) & (B).

          DATED this 18th day of September, 2006.

                                             BY THE COURT:


                                             s/ F.A. Gossett
                                             United States Magistrate Judge
